Case 2:15-cv-04527-GW-PLA Document 123-9 Filed 08/03/15 Page 1 of 8 Page ID #:2994




         closings scheduled on June 30, 20 15, $400,000 in escrow would be forfeited to the

        sellers of the Redwood Property and the Rosewood Property.

               In order to avoid the forfeiture of the monies in escrow, the attorneys for

        Defendant Latsanovski asked the Receiver to consent to lift the freeze on the

         Sunset Holdings account at Wells Fargo bank to allow the transfer of the funds

        required to close on the purchase of the two properties: $707,000 required to be

        sent to Parkfield Escrow to close on the purchase of the Rosewood Property; and

        $900,000 required to be sent to LA Citiwide Escrow Marina to be used to close on

        the purchase of the Redwood Property.

               After consultation with the attorneys for Latsanovski and the Federal Trade

        Commission, the Receiver agreed to lift the freeze on the Sunset Holdings account

        to allow the specific disbursement of funds to the two title companies.

        Accordingly, Defendants Latsanovski and Calenergy, the Receiver, the Federal

        Trade Commission, and Sunset Holdings entered into a Stipulation that was filed

        with the Court on June 30, 2015 as Docket No. 33. A true and correct copy of the

         Stipulation is attached hereto as Exhibit A.

               Soon after the Stipulation was filed with the Court the attorneys for

        Defendants Latsanovski and Calenergy requested the Receiver to agree to the

        release of additional tnonies related to the purchase of the Rosewood Property.

         Specifically, the Defendants indicated an additional $196,222.76 was needed to




                                                                                         App.000342
Case 2:15-cv-04527-GW-PLA Document 123-9 Filed 08/03/15 Page 2 of 8 Page ID #:2995




         pay for "additional disbursements" primarily consisting of $5 1,23 7 to be paid to an

         architectural firm and $135,000 to be paid to a construction firm. The Receiver

         determined these additional disbursements were not part of Sunset Holdings'

         contract with the seller of the Rosewood Property and therefore were not necessary

         in order to avoid a forfeiture of the escrow money. As a result, the Receiver

         denied the Defendants' request to lift the freeze on the Sunset Holdings account to

         allow the disbursement of additional monies.

               In violation of the express terms of the Stipulation agreed to by the parties,

         and the Receiver's directions, Defendant Latsanovski had Wells Fargo disburse

         $900,000 to Parkfield Escrow, Inc. for the purchase of the Rosewood Property

         instead of $707,000 as agreed to by the parties. A true and correct copy of the wire

        transfer request executed by Defendant Latsanovski is attached hereto as Exhibit

         B.   As a result of this incorrect wire transfer, Parkfield Escrow, Inc. received

         $193,000 tnore than was authorized by the Receiver; and LA Citiwide Escrow

         Marina received $193,000 less than was authorized by the Receiver.

               Attorneys for Latsanovski claim his incorrect wire transfer request was the

         result of Latsanovski getting the two properties mixed up and making a simple

         tnistake. Regardless of whether Latsanovski's instructions to Wells Fargo were a

         mistake, Latsanovski was aware that Parkfield Escrow received more tnonies than

         authorized from the Receiver.      Rather than correct the mistake and have the




                                                                                            App.000343
Case 2:15-cv-04527-GW-PLA Document 123-9 Filed 08/03/15 Page 3 of 8 Page ID #:2996




        additional montes transferred to LA Citiwide Escrow Marina, Latsanovksi

        instructed Parkfield Escrow to close on the purchase of the Rosewood Property and

        disburse the monies to the architect and contractor. Such actions by Latsanovski

        were an intentional violation of the Stipulation between the parties, and violated

        the Receivership Order.

                As a result of the wrongful conversion of the monies by Latsanovski in

        closing on the Rosewood Property, there was a $193,000 shortfall in funds

        necessary to close on the purchase of the Redwood Property at LA Citiwide

        Escrow Marina.

                Attorneys for Latsanovski requested the Receiver to release additional funds

        from the Sunset Holdings account to make up the shortfall. The Receiver refused

        this request and made demand upon Latsanovski to immediately make up the

        shortfall of funds that was created by his wrongful actions.                            In addition, the

        Receiver informed attorneys for Latsanovski that the Receiver would have to file a

        show cause 1notion against Defendant Latsanovski if the shortfall was not cured.

        The Receiver delayed filing the show cause motion to give Latsanovski an

        opportunity to cure the shortfall. On July 17, 2014, Latsanovski secured funds

        from third parties to make up the shortfall and Sunset Holdings closed on the

        purchase of the Redwood Property2•

        2
         The Receiver prohibited Latsanovski from allowing the Redwood Property to be encwnbered with a lien in
        exchange for the third party funds making up the shortfall.




                                                                                                                  App.000344
Case 2:15-cv-04527-GW-PLA Document 123-9 Filed 08/03/15 Page 4 of 8 Page ID #:2997




              Sunset Holdings now owns the Rosewood Property and the Redwood

        Property and the monies placed in escrow for the purchase of the properties prior

        to the receivership were not forfeited. In addition, the Receiver filed notices of lis

        pendens on each of the two properties to provide notice the properties are subject

        to the Receivership Order.




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Case 2:15-cv-04527-GW-PLA Document 123-9 Filed 08/03/15 Page 5 of 8 Page ID #:2998




        Case :15-cv-04527-GW-PLA Document 33 Filed 06/30/15 Page 1 of 4 Page ID #:1192




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             Igor Latsanovski and Calenergy, Inc.
           7
           8
                                     UNITED STATES DISTRICT COURT
           9
                                   CENTRAL DISTRICT OF CALIFORNIA
          10
          11
               FEDERAL TRADE COMMISSION,                 CASE NO. CV 15-04527 GW (PLAx)
          12
                            Plaintiff,                   STIPULATION TO RELEASE
          13                                             FUNDS FROM ACCOUNT OF
                      v.                                 SUNSET HOLDINGS PARTNERS
          14                                             LLC TO COMPLETE REAL
               BUNZAI MEDIA GROUP INC., et al.,          ESTATE TRANSACTIONS
          15
                            Defendants.
          16
          17
                      WHEREAS, on June 16, 2015, as part of the Temporary Restraining Order
          18
               and asset freeze imposed by the Court in the above-captioned matter, a Wells Fargo
          19
               bank account belonging to Sunset Holdings Partners LLC (account number ending
          20
               in 9222) (the "Sunset Holdings Account") was frozen. Igor Latsanovski is a
          21
               signatory on the Sunset Holdings Account. According to the Operating Agreement
          22
               of Sunset Holdings Partners LLC, Calenergy, Inc. owns a 99% ownership in Sunset
          23
               Holdings Partners, LLC. 1 The parties dispute whether a subsequent amendment to
          24
               the Operating Agreement has effectively transferred Calenergy's shares to
          25
          26   1
              Managen1ent and control over Calenergy, Inc. has been transferred to the
          27 Temporary Receiver pursuant to the Temporary Restraining Order.
          28
                   STIPULATION TO RELEASE FUNDS FROM ACCOUNT OF SUNSET HOLDINGS
                                     TO COMPLETE REAL ESTATE TRANSACTIONS




                                                                                            App.000346
Case 2:15-cv-04527-GW-PLA Document 123-9 Filed 08/03/15 Page 6 of 8 Page ID #:2999




        Case :15-cv-04527-GW-PLA Document 33 Filed 06/30/15 Page 2 of 4 Page ID #:1193




           1 Latsanovski and a third party.
           2        WHEREAS, Sunset Holdings Partners LLC ("Sunset Holdings") has entered
           3 into the following two real estate transactions, which are scheduled to close escrow
           4 on June 30, 2015: (1) the purchase of a property located at 3777 Rosewood Avenue,
           5 Los Angeles, CA 90066. (the "Rosewood Property"); and (2) the purchase of a
           6 property located at 3783 Redwood Ave, Los Angeles, CA 90066 (the "Redwood
           7 Property"). Sunset Holdings intended to use funds in the Sunset Holdings Account
           8 to close these transactions.
           9        WHEREAS Sunset Holdings deposited $300,000 in an escrow account under
          10 the name of "LA Citiwide Escrow Marina-MA-001032-EA" ("Redwood Escrow")
          11 for the Redwood Property and deposited $100,000 in an escrow account in the name
          12 of Parkfield Escrow, Inc. ("Rosewood Escrow") for the Rosewood Property;
          13        WHEREAS Sunset Holdings must deposit $707,000 in the Redwood Escrow
          14 for the purchase of the Redwood Property and $900,000 in the Rosewood Escrow
          15 for the purchase of the Rosewood Property by June 30, 2015 or Sunset Holdings
          16 may forfeit the $400,000 in deposits already made for the Rosewood and Redwood
          17 Properties; and
          18        WHEREAS, the parties wish to avoid this potential fotfeiture of the escrow
          19 deposits.
          20        THEREFORE, IT IS HEREBY STIPULATED by and among the Temporary
          21 Receiver, the FTC, defendants Latsanovski and Calenergy, Inc., by their respective
          22 attorneys of record, and by Sunset Holdings as follows:
          23         1. The FTC and Temporary Receiver will direct Wells Fargo to lift the asset
          24 freeze with respect to the Sunset Holdings Account to allow the transfer of the
          25 following funds for the following purposes:
          26         (a) $707,000 to the account of Parkfield Escrow, 13515 LA, to complete the
          27 purchase of the Rosewood property.
          28         (b) $900,000 to the account of LA Citiwide Escrow Marina, MA-10032-EA
                STIPULATION TO RELEASE FUNDS FROM ACCOUNT OF SUNSET HOLDINGS PARTNERS LLC
                                   TO COMPLETE REAL ESTATE TRANSACTIONS




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Case 2:15-cv-04527-GW-PLA Document 123-9 Filed 08/03/15 Page 7 of 8 Page ID #:3000




        Case :15-cv-04527-GW-PLA Document 33 Filed 06/30/15          Page 3 of 4 Page ID #:1194




           1 to complete the purchase of the Redwood property.
           2        The FTC and Temporary Receiver make no warranty or representation that
           3 the freeze on the Sunset Holdings Account will be lifted in sufficient time to avoid a
           4 forfeiture of the escrow deposits.
           5        2. The parties agree that if the transactions referenced above are completed,
           6 the Rosewood Property and the Redwood Property will be deeded in Sunset
           7 Holdings' name and subject to the asset freeze as set forth in Section IV of the June
           8 16, 2015 Court-ordered asset freeze (Doc. No. 24), and will not be transferred, sold,
           9 encumbered, leased, or conveyed without the consent of the Temporary Receiver
          10 and the FTC, unless permitted by an order of the Court.
          11        3. This stipulation relates only to the release of the specific funds for the
          12 specific purposes referenced in paragraph 1, above.
          13
          14 DATED: June 29, 2015                 SCHEPER KIM & HARRIS LLP
                                                  MARC S. HARRIS
          15                                      ANNAHS. KIM
          16
          17
          18                                      By:    /s/ Marc S. Harris
                                                        Marc S. Harris
          19
                                                        Attorneys for Defendants Igor Latsanovski
          20                                            and Calenergy, Inc.
          21 DATED: June 29, 2015                 FEDERAL TRADE COMMISSION
          22                                      REID TEPPER
                                                  RAYMOND McKOWN
          23
          24
          25                                      By:    /s/ REID TEPPER
          26
                                                        Attorneys for Plaintiff Federal Trade
          27                                            Commission
          28
                STIPULATION TO RELEASE FUNDS FROM ACCOUNT OF SUNSET HOLDINGS PARTNERS LLC
                                   TO COMPLETE REAL ESTATE TRANSACTIONS




                                                                                                App.000348
Case 2:15-cv-04527-GW-PLA Document 123-9 Filed 08/03/15 Page 8 of 8 Page ID #:3001




        Case   15-cv-04527-GW-PLA Document 33 Filed 06/30/15 Page 4 of 4 Page ID #:1195



               DATED: June 29,2015                  SCHEEF 8~ STONE LLP
                                                    CHARLENE KOONCE
           2
           3
           4
                                                    By:     /s/ Charlene Koonce
           5                                               Charlene Koonce
                                                           Receiver
           6
           7 DATED: June 29, 2015

           8
           9
          10
          11         Thereby attest that all of the signatories electronically Iis ted above concur in
          12 this filing's content and have authorized the filing jn con1pliance with Local Rule 5-

          13 4.3.4.(a)(2)(i).
          14                                           Is/ Marc S. Harris
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                 STIPULATION TO RELEASE FUNDS FROM ACCOUNT Of SUNSET HOLDINGS PARTNERS LLC
                                    TO COMPLETE REAL ESTATE TRANSACTIONS




                                                                                                                                      App.000349
